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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                 NORFOLK DIVISION


JACOB GAVIN HILES,

                        Plaintiff,

                 v.                                  Case No. 2:23-cv-351-AWA-LRL

CABLE NEWS NETWORK, INC.,

                        Defendant.


                   NOTICE REGARDING DEFENDANT’S MOTION TO
                  DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT

          PLEASE TAKE NOTICE that, pursuant to this Court’s Procedure for Civil Motions

(ECF No. 3),1 Defendant Cable News Network, Inc. (“CNN”) hereby advises that it desires a

ruling based upon the briefs alone (without oral argument) as to its Motion to Dismiss Plaintiff’s

First Amended Complaint (ECF No. 12). CNN’s counsel attempted to confer with Plaintiff’s

counsel by both email and telephone but received no response prior to filing this Notice.

    Dated: January 22, 2024                 Respectfully submitted,
                                            BALLARD SPAHR LLP
                                            By:    /s/ Jay Ward Brown
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 To the extent the Court intended by its Order (ECF No. 3) to have counsel file this Notice by a
specific deadline, undersigned counsel accepts responsibility for and apologizes for the delay in
having done so here, which was inadvertent.
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 22nd of January, 2024, I caused a copy of the foregoing to be

filed electronically with the Clerk of Court using the CM/ECF system, which will then send a

notification of such filing to all interested parties.


                                               /s/ Jay Ward Brown
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